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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



       BRIAN GARRETT, ET AL,     )
                                 )
         PLAINTIFFS,             )              CASE NO. 2:18-cv-692
                                 )
                 vs.             )
                                 )
       THE OHIO STATE UNIVERSITY,)
                                 )
         DEFENDANT.              )
       __________________________)


       STEVE SNYDER-HILL, ET AL, )
                                 )
         PLAINTIFFS,             )              CASE NO. 2:18-cv-736
                                 )
                 vs.             )
                                 )
       THE OHIO STATE UNIVERSITY,)
                                 )
         DEFENDANT.              )
       __________________________)




                  TRANSCRIPT OF STATUS CONFERENCE PROCEEDINGS
              BEFORE THE HONORABLE MICHAEL H. WATSON, JUDGE, AND
           THE HONORABLE ELIZABETH PRESTON DEAVERS, MAGISTRATE JUDGE
                     THURSDAY, JANUARY 17, 2019; 10:15 A.M.
                                 COLUMBUS, OHIO

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                                            - - -

            Proceedings recorded by mechanical stenography, transcript
        produced by computer.

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                            FEDERAL OFFICIAL COURT REPORTER
                            85 MARCONI BOULEVARD, ROOM 121
                                  COLUMBUS, OHIO 43215
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Case: 2:18-cv-00692-MHW-EPD
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                                                                                   3
  1                                           Thursday Morning Session

  2                                           January 17, 2019

  3                                         - - -

  4                THE COURTROOM DEPUTY:         These are case numbers

  5     218-cv-692, 2:18-cv-736, Brian Garrett, et al and Steve

  6     Snyder-Hill, et al versus the Ohio State University.                 Counsel,

  7     please enter your appearances.

  8                MR. LANDSKRONER:        Jack Landskroner for the plaintiffs

  9     Snyder-Hill.

 10                MR. SMITH:      Scott Elliot Smith for the plaintiff Steve

 11     Snyder-Hill.

 12                MR. NOETHLICH:       Brian Noethlich for the plaintiffs

 13     Snyder-Hill.

 14                MS. VOURLIS:      Simina Vourlis for the plaintiff

 15     Garrett.

 16                MR. SAUDER:      Joe Sauder for the plaintiff Garrett.

 17                MR. SHARP:      Rex Sharp for Brian Garrett and the

 18     punitive class.

 19                MR. CARPENTER:       For the defendants, Your Honor, Ohio

 20     State University, Mike Carpenter and my colleagues Tim Bricker,

 21     Dave Barthel and Ned Dutton.

 22                THE COURT:      I want to start by saying that I, and I

 23     think every member of this bench probably, have at one time or

 24     another served as an adjunct professor of Ohio State.                  I

 25     currently am teaching.         I say that only because if you want to
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  1     take shots, you can take shots.           I'm thinking that my intention

  2     is to stay on the case and, nonetheless, I'm letting you know

  3     in case you want to raise something.

  4              The Court does not intend to rule anytime soon on the

  5     motions to stay discovery or the motions to dismiss.                 The Court

  6     intends that we will mediate these cases and that we will do so

  7     beginning within the next 30 days.

  8              Michael, when is the Perkins Coie investigation

  9     completed?

 10                MR. CARPENTER:       I don't know, Your Honor.          I am not

 11     involved in that investigation so I have no real timeline or

 12     access to that timeline.

 13                THE COURT:      I want to see a copy of the report in

 14     camera as soon as it's available as well as any status updates

 15     that the board has received to date.

 16              This mediation will likely have a number of moving parts

 17     and so I am thinking of the model that was employed in the

 18     Detroit bankruptcy case using a number of different mediators

 19     that I would supervise in the course of mediating these cases.

 20     I know the board chairman, Mike Gasser.              He's a man of his

 21     word.    He's told the victims that appeared before the board

 22     that, rest assured, the board is not dismissing you.                 We're

 23     committed to doing the right thing.            And the Court intends to

 24     see that the right thing is done here.

 25              I know that Mr. Gasser said at that meeting which I
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  1     believe happened in December but I'm not -- I don't have the

  2     date right at hand, but in any event, he indicated that the

  3     report would be -- the investigation would be over soon and we

  4     look forward to coming up with appropriate responses to action

  5     at that time.

  6              In preparing for this case, the Court has been watching

  7     what's going on in Michigan as well.             One might say that there

  8     is -- there have been some fairly embarrassing revelations, I

  9     think, from the lawyer that was appointed to sort of oversee

 10     compliance with the investigation.            I think there was a

 11     resignation involved.        I want to avoid that.         I want to avoid

 12     all of that.

 13              This case needs to be handled in a manner that is worthy

 14     of a great institution and these victims need to be dealt with

 15     as the Chairman of the Board of Trustees has indicated that he

 16     is committed to doing.         We will be issuing an order following

 17     our status conference today where we will solicit ideas from

 18     counsel as to individuals who might serve as mediators.                  We'll

 19     be looking for probably joint recommendations.                I am willing to

 20     be edified on the model but the one that comes to mind, as I

 21     say, is the Detroit bankruptcy matter.

 22              I know there's a great deal of -- there are legitimate

 23     questions about the statute of limitations and so I want to ask

 24     counsel.     I'm looking for a commitment from the plaintiffs.

 25     You're talking about deliberate indifference from the date that
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  1     the university comes forward and admits that they have this

  2     problem and they are going to conduct this investigation and

  3     that is a date in March or April of 2018; is that correct?

  4                MR. SHARP:      That's correct, Your Honor.

  5                MR. LANDSKRONER:        That's correct, Your Honor.

  6                THE COURT:      Judge Deavers, what do you think?

  7                THE MAGISTRATE JUDGE:         We had talked previously about

  8     getting no commitment from the plaintiffs as to the theory of

  9     the case.     I think it would be helpful, again, I know

 10     Judge Watson just asked you specifically but because we have

 11     two different cases going on, we want to make sure that both

 12     parties are in lockstep with respect to the theory of the case.

 13     So why don't you again, please, articulate and formulate the

 14     basis of your claims as each of you understands it.                 Just to

 15     confirm that we are in one unison theory.

 16                MR. SHARP:      Your Honor, on behalf of the Garrett

 17     Plaintiffs.      This is a Title IX case.         We're seeking a claim

 18     against Ohio State University for deliberate indifference in

 19     their inaction with respect to the Strauss victims and

 20     everything that has continued from that point forward.                  So I

 21     think we are in lockstep in that regard, but I'll let Jack talk

 22     on that issue.

 23                MR. LANDSKRONER:        Your Honor, we have been

 24     coordinating as best we can in these cases to try to streamline

 25     our efforts and make sure we're not duplicating efforts.                  Two
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  1     different claims and class claim individual claims for our

  2     clients, but we are in agreement.

  3              In essence, the claims arise from the question under

  4     Title IX of when Plaintiffs knew that Dr. Strauss's conduct

  5     constituted sexual harassment or abuse and when Plaintiffs knew

  6     specifically that Ohio State University played a role and

  7     contributed to their abuse and injury.             And that, we believe,

  8     was instigated with Ohio State's announcement in April, end of

  9     March, early April that they were going to investigate serial

 10     claims of abuse against Dr. Strauss.

 11                THE COURT:      How much discovery, if any, have you been

 12     able to do or the investigation that you've done has brought

 13     forward?     There's been talk of, in the motion papers, about

 14     speaking with people who were there at the time that may still

 15     be with the university or used to be affiliated with the

 16     university.      Put some meat on those bones for me.            Who have you

 17     talked to?

 18                MR. LANDSKRONER:        Yes, sir.     So we have, as we are in

 19     a suit, have not made efforts to speak to employees of the

 20     university because of their position.

 21                THE COURT:      Right.

 22                MR. LANDSKRONER:        However, we have initiated public

 23     records requests for documents.           We have extensively

 24     interviewed, obviously, our clients and others that our clients

 25     could identify that might help us to understand the nature of
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  1     the complaints and the relation of those complaints to the

  2     university or its staff.         But we have not been able to gather

  3     the information that we need.           And the purpose of our request

  4     for very limited discovery was, one, to get records that -- our

  5     clients' own records which we provided authorizations for to

  6     the university to counsel so we can have a complete

  7     understanding of their window at Ohio State University if there

  8     is any documentation or what their medical records reflect; we

  9     have asked for information on Dr. Strauss which we've been able

 10     to get through public records request but only in a limited

 11     capacity; we have subpoenaed the medical board for information

 12     from Dr. Strauss.       I've received some documentation back there

 13     and understand that there's additional documentation at the

 14     medical board that they cannot release because there were

 15     complaints filed but they were not validated, they were just

 16     simply filed and they can't release that information to us.

 17              So we know there's additional information out there.                 We

 18     just don't have it.

 19                MR. SHARP:      Your Honor, we've done all of the same as

 20     well as attempted to talk to a number of the former higher-ups

 21     at OSU because they are formers, but because they're former

 22     employees or former officers, they have declined for whatever

 23     reason and they're entitled to do that.              We cannot force them

 24     without the power of the Court.           So we haven't had too much

 25     more luck other than what has been publicly available at this
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  1     point.

  2                THE COURT:      All right.     Thank you.

  3              Mr. Carpenter, is there anything that you would like to

  4     add at this point?

  5                MR. CARPENTER:       No, Your Honor.

  6                THE COURT:      Thank you.     Anything further on behalf of

  7     Plaintiffs?

  8                MR. LANDSKRONER:        Nothing more from the plaintiffs to

  9     present.

 10                THE COURT:      We will be issuing an order following

 11     today's hearing but I'd like you to get your heads together and

 12     come up with some proposed names and we will include that in

 13     the order, to serve as mediators.

 14                MR. LANDSKRONER:        Your Honor, I was curious in terms

 15     of procedurally how the government shutdown is affecting you

 16     and whether we should be aware of any procedures you'd like us

 17     to follow under the circumstances.

 18                THE COURT:      We will be here.       Hopefully we'll get

 19     Washington working again.          That would be nice.

 20                MR. SHARP:      Your Honor, on behalf of Plaintiffs

 21     Garrett, I also believe that Jack would probably share in this,

 22     we've previously recommended Layn Phillips as a mediator who

 23     handled not only the Michigan State mediation, I know that took

 24     quite a period of time, and also the USC case that was recently

 25     mediated before Judge Layn Phillips.             I believe he also has --
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   1    there's a number of mediators within his office.                 I believe

   2    there's a few that may have gone to Ohio State's law school.                    I

   3    know that Judge Phillips has been back here at the invitation

   4    of Ohio State to speak on arbitrations and mediations.                  So we

   5    would recommend him.         He may have some ideas on how best to

   6    handle these having actually done them before.                But that would

   7    be who we would recommend.

   8                THE COURT:     Very good.

   9                MR. LANDSKRONER:       We would concur with that, Your

 10     Honor.

 11                 MR. CARPENTER:       Nothing further to add.         We will

 12     confer with our clients and provide that information as

 13     requested by the Court.

 14                 THE COURT:     Thank you.      I appreciate your coming in

 15     today.

 16           (The proceedings were adjourned at 10:30 a.m.)

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   1                               C E R T I F I C A T E

   2

   3                I, Lahana DuFour, do hereby certify that the foregoing

   4    is a true and correct transcript of the proceedings before the

   5    Honorable Michael H. Watson, Judge, and the

   6    Honorable Elizabeth Preston Deavers, Magistrate Judge, in the

   7    United States District Court, Southern District of Ohio,

   8    Eastern Division, on the date indicated, reported by me in

   9    shorthand and transcribed by me or under my supervision.

 10

 11

 12                                      s/Lahana DuFour
                                         Lahana DuFour, RMR, CRR
 13                                      Official Federal Court Reporter
                                         January 22, 2019
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